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Name and address:
                        ABBEY M. KRYSAK
                       WAGNER HICKS PLLC
               831 E. MOREHEAD STREET, SUITE 860
                       CHARLOTTE, NC 28202

                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA

                                                                           CASE NUMBER
GOLDWATER BANK, N.A.
                                                         Plaintiff(s),                          5:21-CV-00616-JWH-SP

                  V.

                                                                              APPLICATION OF NON-RESIDENT ATTORNEY
ARTUR ELIZAROV, et al.                                                              TO APPEAR IN A SPECIFIC CASE
                                                      Defendant(s),                        PRO HAC VICE
INSTRUCTIONS FOR APPLICANTS
(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
    Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
    supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
    days) from every state bar to which he or she is admitted;failure to do so will be groundsfor denying the Application. Scan the
    completed Application with its original ink signature, together with any attachment(s), to a single Portable Document Format (PDF) file.
(2) Have the designated Local Counselfile the Application electronically using the Court's electronicfiling system ("Motions and Related
    Filings => Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)"), attach a Proposed Order
    (using Form G-64 ORDER, availablefrom the Court's website), and pay the required $500fee online at the time offiling (using a credit
    card). The fee is requiredfor each case in which the applicantfiles an Application. Failure to pay thefee at the time offiling will be
    grounds for denying the Application. Out-of-statefederal government attorneys are not required to pay the $500fee. (Certain
    attorneysfor the United States are also exemptfrom the requirement of applyingfor pro hac vice status. See L.R. 83-2.1.4.) A copy of the
    G-64 ORDER in Word or WordPerfectformat must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
Krysak, Abbey M.
Applicant's Name (Last Name, First Name & Middle Initial)                                         check here iffederal government attorney ❑
Wagner Hicks PLLC
Firm/Agency Name
831 E Morehead Street                                                    (704) 705-7942                       (704) 705-7787
Suite 860                                                                Telephone Number                     Fax Number
Street Address
Charlotte, NC 28202                                                                        abbey.krysak@wagnerhicks.law
City, State, Zip Code                                                                               E-mail Address

I have been retained to represent the following parties:
Goldwater Bank, N.A.                                                     x Plaintiff(s)     Defendant(s)     Other:
                                                                            Plaintiff(s)    Defendant(s)     Other:
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

              Name of Court                             Date of Admission            Active Member in Good Standing? (if not, please explain)
North Carolina State Court                                08/28/2013                Yes
South Carolina State Court                                 05/19/2022               Yes
USDC Western District of North Carolina                    08/14/2017               Yes


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List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
needed):
        Case Number                                     Title of Action                            Date of Application       Granted / Denied?




If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:




Attorneys must be registered for the Court's electronic filing system to practice pro hac vice in this Court. Submission
of this Application will constitute your registration (or re-registration) to use that system. If the Court signs an Order
granting your Application, visit www.pacer.gov to complete the registration process and activate your e-filing
privileges in the Central District of California.

           SECTION II - CERTIFICATION

           I declare under penalty of perjury that:

           (1) All of the above information is true and correct.
           (2) I am not a resident of the State of California. I am not regularly employed in, or engaged in
               substantial business, professional, or other activities in the State of California.
           (3) I am not currently suspended from and have never been disbarred from practice in any court.
           (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
               Criminal Procedure, and the Federal Rules of Evidence.
           (5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar
               of this Court and maintains an office in the Central District of California for the practice of law, in
               which the attorney is physically present on a regular basis to conduct business, as local counsel
               pursuant to Local Rule 83-2.1.3.4.

               Dated 9/23/2022                                        Abbey M. Krysak
                                                                      Applicant's Name (please type or print)


                                                                      Applicant's S nature


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                        Supreme Court
    OF THE STATE OF NORTH CAROLINA

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         I, Grant E. Buckner, Clerk of the Supreme Court of North Carolina, do hereby certify

  that on August 28, 2013, license to practice as an Attorney and Counselor at Law in all the

  Courts of this State was issued by the North Carolina Board of Law Examiners to


                                Abbey M. Krysak
  according to the certified list of licentiates reported by the Secretary of said Board and filed

  in my office as required by statute.

          To the date of this certificate, no order revoking said license has been filed with this

  Court and no order suspending same is in effect.

         WITNESS my hand and the Seal of the Supreme Court of North Carolina at office in

  Raleigh, this September 21, 2022.




                                                                Grant E. 13uckner
                                                          Clerk of the Supreme Court
                                                          of the State of North Carolina
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        Z5be Oupreme Court of boutb Carolina


                      Certificate of Good Standing


             I, Patricia A. Howard, Clerk of the Supreme Court of South

 Carolina, do hereby certify that Abbey L. Mrkus (n/k/a Abbey Mrkus Krysak)

 was duly sworn and admitted as an attorney in this state on May 19, 2014 and is

 currently a regular member of the South Carolina Bar in good standing.



                               PATRICIA A. HOWARD, CLERK




                               BY          c2IL,,,z, 2
                                           CHIEF DEPUTY CLEAK




 Columbia, South Carolina

 September 21, 2022
